Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 1 of 11




                               EXHIBIT 16
Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 2 of 11



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

    OMAR SANTOS and AMANDA                           )
    CLEMENTS on behalf of themselves and             )
    all others similarly situated,                   )
                                                     )
                     Plaintiffs,                     )        Case No. 1:19-cv-23084-KMW
                                                     )
    v.                                               )
                                                     )
    HEALTHCARE REVENUE RECOVERY                      )
    GROUP, LLC d/b/a ARS ACCOUNT                     )
    RESOLUTION SERVICES, and                         )
    EXPERIAN INFORMATION                             )
    SOLUTIONS, INC.,                                 )
                                                     )
                     Defendants.
                                                     )


            DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S SECOND
             SUPPLEMENTAL OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                          INTERROGATORIES 1, 4 AND 5

           Pursuant to Federal Rule of Civil Procedure 33, Defendant Experian Information

    Solutions, Inc. (“Experian”) hereby provides its second supplemental responses to Plaintiffs

    Omar    Santos     and    Amanda    Clements’s       (“Plaintiffs”)   Interrogatories   1,   4,   and   5

    (“Interrogatories’).

                                       PRELIMINARY STATEMENT

           Experian has made a diligent and good faith effort to gather the documents and

    information with which to respond to Plaintiffs’ Interrogatories. Discovery in this matter is

    ongoing and Experian continues its investigation of this matter.                Notwithstanding these

    continuing efforts, the responses to the Interrogatories are given without prejudice to and with

    the express reservation of Experian’s right to supplement or modify its responses to the extent

    required by applicable law to incorporate later discovered information, and to rely upon any and



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Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 3 of 11



    all such documents at trial or otherwise. Likewise, Experian shall not be prejudiced if any of its

    present responses are based on an incomplete knowledge or comprehension of the facts, events,

    or occurrences involved in this matter.

            Experian also has responded to Plaintiffs’ Interrogatories based on Experian’s best, good

    faith understanding and interpretation of each item therein.           Accordingly, if Plaintiffs

    subsequently assert a different interpretation than that presently understood by Experian,

    Experian expressly reserves the right to supplement or amend these responses.

            Finally, Experian’s responses herein do not constitute admissions or acknowledgments

    that the documents or information sought are within the proper scope of discovery. Nor shall a

    statement that documents will be produced constitute an admission that such documents in fact

    exist. Instead, it only shall mean that, if responsive documents exist and survive the specific

    objections, they will be produced. An objection to producing documents does not mean that

    documents otherwise responsive to a particular demand in fact exist.

                       OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

            Experian incorporates its Objections to Definitions and Instructions set forth in its

    Amended and Supplemental Responses to Plaintiffs’ Interrogatories served on January 24, 2020

    as if fully set forth herein.

     SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES TO INTERROGATORIES
    INTERROGATORY NO. 1:

    Identify the total number of consumers nationwide HRRG reported accounts on to You between

    July 24, 2017 and the present.




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Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 4 of 11




    Confidential – Subject to Protective Order.
Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 5 of 11




    INTERROGATORY NO. 4:

    Of those consumers identified in response to Interrogatory Number 1, identify the total number

    of consumers who had or have accounts in which the Date of Status on those consumers’

    Experian Credit Files was changed and/or altered, to reflect a more recent Date of Status on the

    accounts.




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Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 6 of 11




    Confidential – Subject to Protective Order.
Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 7 of 11




    INTERROGATORY NO. 5:

    Of those consumers identified in response to Interrogatory Number 4, identify the total number

    of consumers whose Experian Credit Files were viewed by third parties as hard and/or soft

    inquiries after the Date of Status was changed and/or altered on their Experian Credit Files to

    reflect a more recent Date of Status.




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Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 8 of 11




    Confidential – Subject to Protective Order.
Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 9 of 11




    Confidential – Subject to Protective Order.
Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 10 of
                                      11


   Dated: May 8, 2020                            Respectfully submitted,



                                                 /s/ William R. Taylor
                                                 A.M. Cristina Pérez Soto
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                                                 Christina T. Mastrucci
                                                 Florida Bar No. 113013
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                                                 Attorneys for Defendant
                                                 Experian Information Solutions, Inc.



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 8, 2020, I served the foregoing on all counsel or

   parties of record via email.

                                                 /s/ A.M. Cristina Pérez Soto
                                                 A.M. Cristina Pérez Soto




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Case 1:19-cv-23084-KMW Document 65-17 Entered on FLSD Docket 09/28/2020 Page 11 of
                                      11


                                           VERIFICATION

          I have read Defendant Experian Information Solutions, Inc.'s, Second Supplemental
   Objections and Responses to Plaintiffs First Set oflnterrogatories and know their contents.

           I am the Director of Data Accuracy at Experian and am employed by Experian
   Information Solutions, Inc. ("Experian"), a party to this action, and am authorized to make this
   verification for that reason. I am informed and believe and on that ground allege that the matters
   stated in the foregoing document are true.
                                I
          I declare under penalty of perjury under the laws of the United States that the foregoing is
   true and correct.

          Executed on May 8, 2020, in Costa Mesa, California.




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